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                                  KP-0440
                              
                        
          
        
      
    
  

  

  
    
      KP-0440
              Ken Paxton
                  
        Categories
                        
Administrative Law
              , 
Children
              , 
Schools and School Districts
              , 
Education Agency, Texas
        
      
            
                  Summary
                      Education Code subsections 29.153(d-1) and (g), concerning the solicitation of public-private partnerships in connection with the provision of free prekindergarten by school districts, are mandatory in certain instances. The stringent eligibility criteria in Education Code section 29.171 for a provider to enter into a public-private partnership agreement for prekindergarten should not be used as a condition for the provider to submit a proposal for such a partnership under subsection 29.153(g). A court could conclude under certain circumstances that Texas Education Agency guidelines should be promulgated through formal rulemaking under the Administrative Procedure Act. A court would likely conclude that neither the Governor’s COVID-19 Disaster Declaration nor any related Executive Order authorize the suspension of Education Code subsections 29.153(d-1) or (g).
      
                          
            Opinion File
                         kp-0440.pdf 

      
          
                
        
      
    

          
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    RQ-0480-KP

      
  
                October 07, 2022

      
  
      
      
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                     RQ0480KP.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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